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                                                                 1822-CC00390

                           IN THE CIRCUIT COURT
                      TWENTY-SECOND JUDICIAL CIRCUIT
                          ST. LOUIS CITY, MISSOURI


MAJOR BRANDS, INC.,                           )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )
                                              )
MAST-JÄGERMEISTER US, INC.,                   )
                                              )
Serve:                                        )
c/o CT Corporation System                     )
111 Eighth Avenue                             )   Cause No. __________________
New York, New York 10011                      )
                                              )   Div. No. __________________
MAST-JÄGERMEISTER US HOLDING, INC., )
                                              )   JURY TRIAL DEMANDED
Serve:                                        )
c/o The Corporation Trust Company             )
Corporation Trust Center                      )
1209 Orange Street                            )
Wilmington, DE 19801                          )
                                              )
and                                           )
                                              )
SOUTHERN GLAZER’S WINE AND                    )
SPIRITS OF MISSOURI, LLC                      )
                                              )
Serve:                                        )
c/o CSC-Lawyers Incorporating Service Company )
221 Bolivar Street                            )
Jefferson City, MO 65101                      )
                                              )
and                                           )
                                              )
SUPERIOR WINES AND LIQUORS, INC.              )
                                              )
Serve:                                        )
c/o CSC-Lawyers Incorporating Service Company )
221 Bolivar Street                            )
Jefferson City, MO 65101                      )
                                              )
                                              )


                                                                       Exhibit
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and                                                    )
                                                       )
SOUTHERN GLAZER’S WINE AND                             )
SPIRITS, LLC                                           )
                                                       )
Serve:                                                 )
c/o Corporation Service Company                        )
251 Little Falls Drive                                 )
Wilmington, DE 19808                                   )
                                                       )
                                                       )
       Defendants.                                     )

                                             PETITION

       COMES NOW Plaintiff Major Brands, Inc. (“Major Brands” or “Plaintiff”), by and

through its undersigned counsel, and for its Petition against Defendants Mast-Jägermeister US,

Inc. a/k/a Mast-Jaegermeister US, Inc. (“Jägermeister US”), Mast-Jägermeister US Holding, Inc.

a/k/a Mast-Jaegermeister US Holding, Inc. (“Jägermeister US Holding” and, together with

Jägermeister US, “Jägermeister”), Superior Wines and Liquors, Inc. (“Superior”), Southern

Glazer’s Wine and Spirits, LLC (“SGWS”), and Southern Glazer’s Wine and Spirits of Missouri,

LLC (“Southern Missouri”) (collectively “Superior,” “SGWS,” and “Southern Missouri” are

referred to as “Southern”) seeking declaratory and other relief, states as follows: seeking

declaratory and other relief, states as follows:

                           PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff Major Brands, which is a corporation organized and existing under the

laws of the State of Missouri, is a resident of St. Louis City, Missouri, with its principal place of

business located at 6701 Southwest Avenue, Saint Louis, Missouri 63143.

       2.      Defendant Jägermeister US is a corporation organized and existing under the laws

of the State of New York, with its principal place of business located at 20 Cedar Street, New

Rochelle, New York 10801.



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       3.      Defendant Jägermeister US Holding is a corporation organized and existing under

the laws of the State of Delaware, with its principal place of business located at 333 Mamaroneck

Avenue, #348, White Plains, New York 10605.

       4.      Defendant Superior is a corporation organized and existing under the laws of the

State of Missouri, with its principal place of business located at 6201 Stillwell, Kansas City, MO

64120. Superior is a licensed wholesale distributor of intoxicating liquor products in the State of

Missouri and is a part of the Southern wholesale distribution network in the State of Missouri.

Superior is located at the same site as Southern Missouri’s Kansas City facility and, upon

information and belief, is appointed to distribute all or substantially all of the same brands of

intoxicating liquor in Missouri that Southern Missouri distributes. Upon information and belief,

Superior is an alter ego of SGWS and Southern Missouri, being entirely controlled by them and

having no independent existence apart from them.

       5.      Defendant SGWS is, upon information and belief, a limited liability company

organized and existing under the laws of the State of Delaware, with its principal place of business

located at 1600 NW 163rd Street, Miami, Florida 33169.

       6.      Defendant Southern Missouri is a limited liability company organized and existing

under the laws of the State of Missouri, with its principal place of business located at 1 Glazer

Way, St. Charles, Missouri 63301. Southern Missouri is a licensed wholesale distributor of

intoxicating liquor products in the State of Missouri and is a part of the Southern wholesale

distribution network in the State of Missouri.

       7.      Southern Missouri holds itself out as a Missouri LLC, but is regulated by the

Missouri Department of Public Safety Division of Alcohol and Tobacco Control as a Missouri

corporation under the plenary authority given to Missouri by the Twenty-first Amendment to the




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U.S. Constitution to regulate the distribution of alcohol within its borders. Southern Missouri has

been a Missouri corporation since its formation as Ozark Distributors, Inc. on November 2, 1944.

       8.      Under Missouri law, if Southern Missouri were not a corporation and were not

treated as such by the State under the Missouri Liquor Control Law and related regulations, it

would be barred from holding a license to distribute intoxicating liquor in Missouri pursuant to

Mo. Rev. Stat. § 311.060.

       9.      This Court has original jurisdiction over this civil action pursuant to Article V,

Section 14(a) of the Missouri Constitution.

       10.     Venue is proper in the Circuit Court of St. Louis City, Missouri pursuant to Mo.

Rev. Stat. § 508.010 in that Plaintiff resides in this Circuit and Defendants Jägermeister and

Southern caused Plaintiff’s injury in the City of St. Louis.

                                  GENERAL ALLEGATIONS

       11.     Major Brands is a wholesaler licensed in the State of Missouri, under the provisions

of Chapter 311 R.S.Mo., to sell intoxicating liquor to retailers licensed in the State of Missouri.

       12.     Southern Missouri and Superior are wholesalers licensed in the State of Missouri

under the provisions of Chapter 311 R.S.Mo., to sell intoxicating liquor to retailers licensed in the

State of Missouri, and both compete with Major Brands.

       13.     Jägermeister is a manufacturer whose brands of intoxicating liquor are distributed

through duly-licensed wholesalers in the State of Missouri.

       14.     Major Brands has had a longstanding agreement with Jägermeister for decades

whereby it was granted the rights to offer, sell, and distribute within the State of Missouri certain

brands of spirits (the “Brands”) and Major Brands has for decades offered, sold and distributed




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those Brands of spirits within the State of Missouri (the “Distribution Agreement”) creating

demand and value for those Brands in this State.

       15.      Pursuant to the Distribution Agreement, Major Brands has made substantial

investments in the marketing and distribution of the Brands, and has built up and developed

goodwill over the decades for those products throughout the State of Missouri. Major Brands’

investments include, without limitation, significant expenditures of time, money, and human

resources.

       16.      Under Missouri’s Franchise law [Mo. Rev. Stat. § 407.400, et. seq.] and as part of

the Distribution Agreement, Jägermeister may only terminate the Distribution Agreement and

Major Brands’ rights to distribute the Brands after first establishing “good cause” for the

termination, as that term is defined in Section 407.413.5 of the Revised Statutes of Missouri.

       17.      On February 13, 2018, Jägermeister told Major Brands that it was purporting to

terminate the Distribution Agreement. Jägermeister did not provide any reasonable grounds for

the purported termination that would constitute “good cause” under Section 407.413.5 of the

Revised Statutes of Missouri. Jägermeister admitted that the purported termination had “nothing

to do with Major Brands’ performance,” but was the result of Jägermeister’s desire to consolidate

nationally with Southern.

       18.      Southern (including SGWS, Southern Missouri, and Superior) is aware of

Missouri’s Franchise law and is willfully and purposefully inducing Jägermeister to violate

Missouri law.

       19.      Jägermeister’s attempt to terminate Major Brands as a wholesaler, after Major

Brands has built up the sales and Jägermeister brand over decades, without establishing good cause




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violates Missouri’s Franchise law [Mo. Rev. Stat. § 407.400, et. seq.], and, therefore, any

purported termination is null and void.

                                              Count I
                                       Declaratory Judgment

          20.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          21.   Missouri’s Declaratory Judgment Act [Mo. Rev. Stat. § 527.010, et seq.] permits

the declaration of a party’s rights, status, or other legal relationship.

          22.   A present and justiciable controversy exists between Major Brands and

Jägermeister regarding whether Jägermeister has a right to terminate Major Brands as a wholesaler

under applicable law.

          23.   Specifically, Jägermeister has no right to terminate Major Brands as a wholesaler

without first establishing good cause and, therefore, Jägermeister’s attempted termination violates

Missouri’s Franchise law [Mo. Rev. Stat. § 407.400, et. seq.].

          24.   Major Brands’ relationship with Jägermeister constitutes a “franchise” as that term

is defined in Section 407.400(1) R.S.Mo., because it is a commercial relationship of continuing

indefinite duration between a wholesaler and a supplier wherein Major Brands was granted the

right to offer, sell, and distribute within the State of Missouri the Brands of intoxicating liquor.

          25.   Alternatively, Major Brands’ relationship with Jägermeister over the decades

constitutes a “franchise” as that term is defined in Section 407.400(1) R.S.Mo., because it is an

arrangement for an indefinite period, in which Jägermeister granted to Major Brands a license to

use its trade name, trademark, service mark, or related characteristic, and in which Major Brands

and Jägermeister have a community of interest in the marketing of the Brands at wholesale.

          26.   Under Section 407.413.2 R.S.Mo.:



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          [N]o supplier shall unilaterally terminate or refuse to continue or change
          substantially the condition of any franchise with the wholesaler unless the supplier
          has first established good cause for such termination, noncontinuance or change.

          27.    Jägermeister’s unilateral termination of Major Brands’ franchise without first

establishing good cause for such termination violates Section 407.413.2.

          28.    The desire to consolidate distribution nationally is not “good cause” as that term is

defined in Missouri alcohol distribution laws established to protect Missouri citizens and the

public, and Jägermeister’s attempted termination violates Missouri’s Franchise law [Mo. Rev. Stat.

§ 407.400, et. seq.].

          29.    Therefore, any purported termination by Jägermeister of Major Brands as its

wholesaler for the Brands must be declared null and void.

          WHEREFORE, Plaintiff Major Brands respectfully requests that the Court:

                 1)      enter judgment in favor of Major Brands and against Defendant
                         Jägermeister on Count I;

                 2)      enter an order declaring that Defendant Jägermeister has no right to
                         terminate Major Brands as a wholesaler pursuant to the Missouri Franchise
                         law [Mo. Rev. Stat. § 407.413, et. seq.] because it has not established good
                         cause for such termination;

                 3)      enter an order declaring that Defendant Jägermeister’s attempted
                         termination of Major Brands as Jägermeister’s wholesaler is null, void, and
                         without legal effect; and

                 4)      provide any other relief that this Court deems just and proper under the
                         circumstances.

                                              Count II
                                Violation of Section 407.413 R.S.Mo.

          30.    Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          31.    Jägermeister has violated Section 407.413.2 R.S.Mo., by unilaterally terminating

its franchise with Major Brands without first establishing good cause for such termination.


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          32.   Pursuant to Section 407.413.3 R.S.Mo., “[a]ny wholesaler may bring an action in a

court of competent jurisdiction against a supplier for violation of any of the provisions of this

section and may recover damages sustained by such wholesaler together with the costs of the action

and reasonable attorney's fees.”

          33.   As a result of the Jägermeister’s conduct, Major Brands has sustained damages in

excess of $25,000.00.

          WHEREFORE, Major Brands prays for a judgment in its favor and against Jägermeister

in an amount to be determined at trial, for its costs of bringing this action and reasonable attorneys’

fees, for appropriate injunctive relief, and for any other and further relief as this Court deems just

and proper.

                                            Count III
                                        Breach of Contract

          34.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          35.   The Distribution Agreement was at all times and remains, a valid contract supported

by adequate consideration.

          36.   Major Brands has performed its obligations under the Distribution Agreement.

          37.   Jägermeister has breached the terms of the Distribution Agreement by unilaterally

terminating the Distribution Agreement without good cause.

          38.   Jägermeister’s breach of the Distribution Agreement has caused Major Brands to

suffer damages in an amount greater than $25,000.00.

          WHEREFORE, Major Brands prays for a judgment in its favor and against Jägermeister

in an amount to be determined at trial, for its costs of bringing this action, and for any other and

further relief as this Court deems just and proper.



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                                          Count IV
                     Breach of the Covenant of Good Faith and Fair Dealing

          39.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          40.   Major Brands has performed its obligations under the Distribution Agreement.

          41.   As part of the Distribution Agreement, Jägermeister agreed it would not terminate

Major Brands as a distributor of certain brands of Jägermeister’s spirits unless it could establish

good cause for such termination.

          42.   The law implies a covenant of good faith and fair dealing into the terms of the

Distribution Agreement.

          43.   Jägermeister has breached the covenant of good faith and fair dealing by

unilaterally terminating its Distribution Agreement with Major Brands without good cause.

          44.   As a result of Jägermeister’s breach of the covenant of good faith and fair dealing,

Major Brands has suffered damages in an amount greater than $25,000.00.

          WHEREFORE, Major Brands prays for a judgment in its favor and against Jägermeister

in an amount to be determined at trial, for its costs of bringing this action, and for any other and

further relief as this Court deems just and proper.

                                            Count V
                                           Recoupment

          45.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          46.   Major Brands, in reliance upon the Distribution Agreement and in good faith, has

incurred expense and devoted time and labor to the marketing and distribution of Jägermeister’s

brands of spirits.




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          47.   Major Brands has not had sufficient opportunity to recoup the value of its

expenditures, its time and its labor from its efforts to market and distribute the Brands.

          48.   Accordingly, in the event Jägermeister’s termination of the Distribution Agreement

is upheld, Jägermeister should be required to compensate Major Brands in an amount adequate to

give Major Brands value for the expense, time and labor incurred on behalf of the Brands, which

amount is greater than $25,000.00.

          WHEREFORE, Major Brands prays for a judgment in its favor and against Jägermeister

in an amount to be determined at trial, for its costs of bringing this action, and for any other and

further relief as this Court deems just and proper.

                                            Count VI
                                        Unjust Enrichment

          49.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          50.   Major Brands has expended substantial money, time and labor in, among other

things, marketing and distributing Jägermeister’s brands of spirits in the State of Missouri.

          51.   Major Brands’ efforts have conferred benefits upon Jägermeister.

          52.   Further, Jägermeister appreciates the fact of such benefits.

          53.   Allowing Jägermeister to accept and retain the benefits conferred upon it by Major

Brands’ efforts without adequate payment to Major Brands for those benefits would be inequitable.

          54.   Accordingly, the Court should order payment from Jägermeister to Major Brands

in an amount sufficient to account for the value of the benefits conferred upon Jägermeister by

Major Brands, which amount is greater than $25,000.00.




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          WHEREFORE, Major Brands prays for a judgment in its favor and against Jägermeister

in an amount to be determined at trial, for its costs of bringing this action, and for any other and

further relief as this Court deems just and proper.

                                          Count VII
                         Tortious Interference (Against Jägermeister)

          55.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          56.   Major Brands has a valid business expectancy in the distribution of the Brands to

numerous retailers licensed to sell intoxicating liquor within the State of Missouri.

          57.   Jägermeister is aware of Major Brands’ business expectancy in the distribution of

the Brands to such retailers.

          58.   Jägermeister intentionally interfered with said business expectancy by terminating

Major Brands’ Distribution Agreement.

          59.   Jägermeister was not justified in interfering with, and used improper means to

interfere with, said business expectancy.

          60.   Jägermeister’s tortious interference was intentional, wanton, willful, outrageous,

deliberate, done with an evil motive, and in reckless disregard and indifference to the interests and

rights of Major Brands, thus warranting an award of punitive damages in a fair and reasonable

amount to be determined at trial.

          61.   Major Brands has suffered damages in an amount greater than $25,000.00 as a

result of Jägermeister’s intentional interference with Major Brands’ business expectancy.

          WHEREFORE, Major Brands prays for a judgment in its favor and against Jägermeister

in an amount to be determined at trial, including an award of punitive damages, and for its costs

of bringing this action and for any other and further relief as this Court deems just and proper.



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                                          Count VIII
                           Tortious Interference (Against Southern)

          62.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          63.   Major Brands has both a valid Distribution Agreement with Jägermeister whereby

it was granted the rights to offer, sell, and distribute within the State of Missouri certain of

Jägermeister’s Brands, and a valid business expectancy in the continued distribution of the Brands

to numerous Missouri retailers.

          64.   Southern was and is aware of Major Brands’ Distribution Agreement with

Jägermeister and was and is aware of Major Brands’ protected franchise rights, contract rights,

and business expectancy in its continued distribution of the Brands to retailers.

          65.   Southern intentionally interfered with said protected franchise rights, contract

rights, and business expectancy by inducing Jägermeister to breach its Distribution Agreement

with Major Brands and violate Missouri’s Franchise Law by terminating its Distribution

Agreement with Major Brands without good cause.

          66.   Southern was not justified in interfering with, and used improper means to interfere

with, said protected franchise rights, contract rights, and business expectancy.

          67.   Major Brands has been damaged in an amount greater than $25,000.00 as a result

of Southern’s intentional interference with Major Brands’ franchise rights, contract rights, and

business expectancy.

          68.   Southern’s actions in interfering with Major Brands’ franchise rights, contract

rights, and business expectancy were intentional, wanton, willful, outrageous, deliberate, done

with an evil motive, and in reckless disregard and indifference to the interests and rights of Major




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Brands, thus warranting an aware of punitive damages in a fair and reasonable amount to be

determined at trial.

          WHEREFORE, Major Brands prays for a judgment in its favor and against the Southern

defendants—including SGWS, Southern Missouri, and Superior—in an amount to be determined

at trial, including an award of punitive damages, and for its costs of bringing this action and for

any other and further relief as this Court deems just and proper.

                                            Count IX
                                         Civil Conspiracy

          69.   Major Brands incorporates its allegations set forth above as though fully set forth

herein.

          70.   Major Brands has valid protected Missouri franchise rights with Jägermeister

whereby it was granted the exclusive rights to offer, sell, and distribute within the State of Missouri

certain of Jägermeister’s Brands to numerous Missouri retailers.

          71.   Southern was and is aware of Major Brands’ protected Missouri franchise rights

with Jägermeister in its continued distribution of the Brands to retailers.

          72.   Southern and Jägermeister conspired to intentionally violate said protected

Missouri franchise rights by illegally terminating Jägermeister’s Distribution Agreement with

Major Brands and violating Missouri’s Franchise Law without good cause.

          73.   Southern and Jägermeister were not justified in conspiring to violate Major Brands’

protected Missouri franchise rights.

          74.   Major Brands has been damaged in an amount greater than $25,000.00 as a result

of Southern and Jägermeister’s improper actions in violation of Missouri law.

          75.   Southern and Jägermeister’s actions in violation of Missouri law were intentional,

wanton, willful, outrageous, deliberate, done with an evil motive, and in reckless disregard and



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indifference to the interests and rights of Major Brands, thus warranting an aware of punitive

damages in a fair and reasonable amount to be determined at trial.

       WHEREFORE, Major Brands prays for a judgment in its favor and against the Southern

defendants—including SGWS, Southern Missouri, and Superior—and Jägermeister in an amount

to be determined at trial, including an award of punitive damages, and for its costs of bringing this

action and for any other and further relief as this Court deems just and proper.

                                              Respectfully submitted,

                                              LEWIS RICE LLC


                                              By: /s/ Evan Z. Reid
                                                 Richard B. Walsh, Jr., #33523
                                                 Evan Z. Reid, #51123
                                                 Oliver H. Thomas, #60676

                                                  600 Washington Avenue, Suite 2500
                                                  St. Louis, Missouri 63101
                                                  (314) 444-7722
                                                  (314) 612-7722 (facsimile)
                                                  rwalsh@lewisrice.com
                                                  ereid@lewisrice.com
                                                  othomas@lewisrice.com

                                              Attorneys for Plaintiff Major Brands, Inc.




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                               IN THE CIRCUIT COURT
                          TWENTY-SECOND JUDICIAL CIRCUIT
                              ST. LOUIS CITY, MISSOURI


MAJOR BRANDS, INC.,                                )
                                                   )
          Plaintiff,                               )
                                                   )
v.                                                 )       Cause No. 1822-CC00390
                                                   )
MAST-JAGERMEISTER US, INC.,                        )
MAST-JAGERMEISTER US HOLDING, INC.                 )
SUPERIOR WINES AND LIQUORS, INC.                   )       JURY TRIAL DEMANDED
SOUTHERN GLAZER WINE AND SPIRITS                   )
OF MISSOURI, LLC, and SOUTHERN                     )
GLAZERS WINE AND SPIRITS, LLC,                     )
                                                   )
          Defendants.                              )

                                MEMORANDUM TO CLERK

          COMES NOW Plaintiff Major Brands, Inc., by and through its undersigned counsel, and

files herewith the attached Returns of Service of special process server David M. Roberts of

Central Missouri Process Servers, attesting to service of summonses and petitions, on Defendants

Southern Glazer’s Wine and Spirits of Missouri, LLC and Superior Wines and Liquors, Inc.

concerning the above-captioned matter.


                                            Respectfully submitted,

                                            LEWIS RICE LLC


                                            By: /s/ Evan Z. Reid
                                               Evan Z. Reid, #51123
                                               600 Washington Avenue, Suite 2500
                                               St. Louis, Missouri 63101
                                               (314) 444-7889
                                               (314) 612-7889 (facsimile)
                                               ereid@lewisrice.com

                                            Attorneys for Plaintiff Major Brands, Inc.


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 27th day of February 2018, a true and accurate

copy of the foregoing was served on all counsel of record by operation of the Court’s ECF system.

                                                    /s/ Evan Z. Reid




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                              IN THE CIRCUIT COURT
                         TWENTY-SECOND JUDICIAL CIRCUIT
                             ST. LOUIS CITY, MISSOURI

MAJOR BRANDS, INC.,                                  )
                                                     )
          Plaintiff,                                 )
                                                     )      Cause No. 1822-CC00390
v.                                                   )
                                                     )      Division No. 6
MAST-JÄGERMEISTER US, INC., et al.                   )
                                                     )
          Defendants.                                )

                                 ENTRY OF APPEARANCE

          COME NOW Richard B. Walsh, Jr., and the Law Firm of Lewis Rice LLC, and hereby

enter their appearance on behalf of Plaintiff Major Brands, Inc. in the above-captioned matter.


                                             Respectfully submitted,

                                             LEWIS RICE LLC


Dated: February 28, 2018                     By: /s/ Richard B. Walsh, Jr.
                                             Richard B. Walsh, Jr., #33523
                                             600 Washington Ave., Suite 2500
                                             St. Louis, Missouri 63101-1311
                                             Telephone: (314) 444-7722
                                             Facsimile: (314) 612-7722
                                             E-mail: rwalsh@lewisrice.com

                                             Attorney for Plaintiff Major Brands, Inc.




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Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 28 of 41 PageID #: 78




                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 28th day of February, 2018, a true and correct copy

of the foregoing was served via operation of the Court’s electronic case filing system upon counsel

of record in this matter.

                                                       /s/ Richard B. Walsh, Jr.




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Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 29 of 41 PageID #: 79




                              IN THE CIRCUIT COURT
                         TWENTY-SECOND JUDICIAL CIRCUIT
                             ST. LOUIS CITY, MISSOURI

MAJOR BRANDS, INC.,                                 )
                                                    )
          Plaintiff,                                )
                                                    )       Cause No. 1822-CC00390
v.                                                  )
                                                    )       Division No. 6
MAST-JÄGERMEISTER US, INC., et al.                  )
                                                    )
          Defendants.                               )

                                 ENTRY OF APPEARANCE

          COME NOW Oliver H. Thomas, and the Law Firm of Lewis Rice LLC, and hereby enter

their appearance on behalf of Plaintiff Major Brands, Inc. in the above-captioned matter.


                                             Respectfully submitted,

                                             LEWIS RICE LLC


Dated: February 28, 2018                     By: /s/ Oliver H. Thomas
                                             Oliver H. Thomas, #60676
                                             600 Washington Ave., Suite 2500
                                             St. Louis, Missouri 63101-1311
                                             Telephone: (314) 444-7711
                                             Facsimile: (314) 612-7711
                                             E-mail: othomas@lewisrice.com

                                             Attorney for Plaintiff Major Brands, Inc.




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Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 30 of 41 PageID #: 80




                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 28th day of February, 2018, a true and correct copy

of the foregoing was served via operation of the Court’s electronic case filing system upon counsel

of record in this matter.

                                                       /s/ Oliver H. Thomas
                                                                                                     Electronically Filed - City of St. Louis - February 28, 2018 - 01:09 PM
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                               IN THE CIRCUIT COURT
                          TWENTY-SECOND JUDICIAL CIRCUIT
                              ST. LOUIS CITY, MISSOURI


MAJOR BRANDS, INC.,                                 )
                                                    )
          Plaintiff,                                )
                                                    )
v.                                                  )       Cause No. 1822-CC00390
                                                    )
MAST-JAGERMEISTER US, INC.,                         )
MAST-JAGERMEISTER US HOLDING, INC.                  )
SUPERIOR WINES AND LIQUORS, INC.                    )       JURY TRIAL DEMANDED
SOUTHERN GLAZER WINE AND SPIRITS                    )
OF MISSOURI, LLC, and SOUTHERN                      )
GLAZERS WINE AND SPIRITS, LLC,                      )
                                                    )
          Defendants.                               )

                                MEMORANDUM TO CLERK

          COMES NOW Plaintiff Major Brands, Inc., by and through its undersigned counsel, and
files herewith the attached Returns of Service of special process server DM Professional Services,
attesting to service of summonses and petitions, on Defendants Southern Glazer’s Wine and
Spirits, LLC and Mast-Jagermeister US Holding, Inc. concerning the above-captioned matter.

                                             Respectfully submitted,
                                             LEWIS RICE LLC

                                             By: /s/ Evan Z. Reid
                                                Richard B. Walsh, Jr., #33523
                                                Evan Z. Reid, #51123
                                                Oliver H. Thomas, #60676
                                                600 Washington Avenue, Suite 2500
                                                St. Louis, Missouri 63101
                                                (314) 444-7889
                                                (314) 612-7889 (facsimile)
                                                rwalsh@lewisrice.com
                                                ereid@lewisrice.com
                                                othomas@lewisrice.com

                                             Attorneys for Plaintiff Major Brands, Inc.



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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 28th day of February 2018, a true and accurate

copy of the foregoing was served on all counsel of record by operation of the Court’s ECF system.

                                                    /s/ Evan Z. Reid




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                               IN THE CIRCUIT COURT
                          TWENTY-SECOND JUDICIAL CIRCUIT
                              ST. LOUIS CITY, MISSOURI


MAJOR BRANDS, INC.,                                )
                                                   )
          Plaintiff,                               )
                                                   )
v.                                                 )       Cause No. 1822-CC00390
                                                   )
MAST-JAGERMEISTER US, INC.,                        )
MAST-JAGERMEISTER US HOLDING, INC.                 )
SUPERIOR WINES AND LIQUORS, INC.                   )       JURY TRIAL DEMANDED
SOUTHERN GLAZER WINE AND SPIRITS                   )
OF MISSOURI, LLC, and SOUTHERN                     )
GLAZERS WINE AND SPIRITS, LLC,                     )
                                                   )
          Defendants.                              )

                                MEMORANDUM TO CLERK

          COMES NOW Plaintiff Major Brands, Inc., by and through its undersigned counsel, and
files herewith the attached Return of Service of special process server, ALT Process Service,
attesting to service of summons and petition on Defendant Mast-Jagermeister US, Inc. concerning
the above-captioned matter.

                                            Respectfully submitted,
                                            LEWIS RICE LLC

                                            By: /s/ Evan Z. Reid
                                               Richard B. Walsh, Jr., #33523
                                               Evan Z. Reid, #51123
                                               Oliver H. Thomas, #60676
                                               600 Washington Avenue, Suite 2500
                                               St. Louis, Missouri 63101
                                               (314) 444-7889
                                               (314) 612-7889 (facsimile)
                                               rwalsh@lewisrice.com
                                               ereid@lewisrice.com
                                               othomas@lewisrice.com

                                            Attorneys for Plaintiff Major Brands, Inc.



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Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 36 of 41 PageID #: 86




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 1st day of March, 2018, a true and accurate

copy of the foregoing was served on all counsel of record by operation of the Court’s ECF system.

                                                    /s/ Evan Z. Reid




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Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 37 of 41 PageID #: 87
                                                                                                   Electronically Filed - City of St. Louis - March 07, 2018 - 02:08 PM
Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 38 of 41 PageID #: 88




                              IN THE CIRCUIT COURT
                         TWENTY-SECOND JUDICIAL CIRCUIT
                             ST. LOUIS CITY, MISSOURI

MAJOR BRANDS, INC.,                                )
                                                   )
       Plaintiff,                                  )
                                                   )       Cause No. 1822-CC00390
v.                                                 )
                                                   )       Division No. 6
MAST-JÄGERMEISTER US, INC., et al.                 )
                                                   )
       Defendants.                                 )

                            REQUEST FOR ALIAS SUMMONS

       COMES NOW Plaintiff, by and through its undersigned counsel, and hereby requests that

the Clerk of this Court issue alias summons for service by special process server upon Defendant

Mast-Jägermeister US Holding, Inc. at C/O CT Corporation System, 111 Eighth Avenue, New

York, New York, 10011.



                                            Respectfully submitted,

                                            LEWIS RICE LLC


Dated: March 7, 2018                        By: /s/ Evan Z. Reid
                                               Richard B. Walsh, Jr., #33523
                                               Evan Z. Reid, #51123
                                               Oliver H. Thomas, #60676

                                                600 Washington Avenue, Suite 2500
                                                St. Louis, Missouri 63101
                                                (314) 444-7722
                                                (314) 612-7722 (facsimile)
                                                rwalsh@lewisrice.com
                                                ereid@lewisrice.com
                                                othomas@lewisrice.com

                                            Attorneys for Plaintiff Major Brands, Inc.
                                                                                                   Electronically Filed - City of St. Louis - March 07, 2018 - 02:08 PM
Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 39 of 41 PageID #: 89




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
was filed on March 7, 2018 via the Court’s electronic filing system.


                                                           /s/     Evan Z. Reid




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            Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 40 of 41 PageID #: 90

                  IN THE 22ND JUDICIAL CIRCUIT COURT OF CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                                                  Case Number: 1822-CC00390
 MICHAEL FRANCIS STELZER
 Plaintiff/Petitioner:                                                               Plaintiff’s/Petitioner’s Attorney/Address:
  MAJOR BRANDS, INC.                                                                 EVAN ZOECKLER REID
                                                                                     600 WASHINGTON
                                                                                     SUITE 2500
                                                                          vs.        SAINT LOUIS, MO 63101
 Defendant/Respondent:                                                               Court Address:
 MAST-JAGERMEISTER US, INC.                                                          CIVIL COURTS BUILDING
 Nature of Suit:                                                                     10 N TUCKER BLVD
                                                                                     SAINT LOUIS, MO 63101
 CC Declaratory Judgment                                                                                                                                                                        (Date File Stamp)

                    ALIAS Summons for Personal Service Outside the State of Missouri
                                                                         (Except Attachment Action)
    The State of Missouri to: MAST-JAGERMEISTER US HOLDING, INC.
                              Alias:
  C/O CT CORPORATION SYSTEM
  111 EIGHTH AVENUE
  NEW YORK, NY 10011
                                      You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached, and to serve
                                 a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30 days after service of this
                                 summons upon you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be taken against you
                                 for the relief demanded in this action.


                                           March 13, 2018
                                 ____________________________________________________________________       ______________________ _________________________________________________________

                                                               Date                                                    Thomas Kloeppinger
                                                                                                                        Circuit Clerk
                                 Further Information:
                                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________                                       ___________________________________________________________
                  Printed Name of Sheriff or Server                                                                      Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
         (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                                           ___________________________________________________________
                                                                                                                                 Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-703                                             1 of 2            (1822-CC00390)                                                Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                                                                                  506.500, 506.510 RSMo
            Case: 4:18-cv-00423-HEA Doc. #: 1-6 Filed: 03/16/18 Page: 41 of 41 PageID #: 91
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-703              2 of 2    (1822-CC00390)                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
